Case 4:19-cv-07123-PJH   Document 598-2   Filed 03/13/25   Page 1 of 29




                         Exhibit 2
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     Case 4:19-cv-07123-PJH       Document 598-2     Filed 03/13/25     Page 2 of 29



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 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12    WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
13    corporation,                                  DEFENDANTS’ MOTIONS IN LIMINE
                                                    NOS. 1-10
14                Plaintiffs,
                                                    [REDACTED] VERSION OF
15          v.                                      DOCUMENT FILED UNDER SEAL
16    NSO GROUP TECHNOLOGIES LIMITED
      and Q CYBER TECHNOLOGIES LIMITED,            Pretrial Conference Date: April 10, 2025
17
                                                   Time: 2:00 p.m.
                      Defendants.                  Ctrm: 3
18
                                                   Judge: Hon. Phyllis J. Hamilton
19                                                 Trial Date: April 28, 2025

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      NSO’S MOTIONS IN LIMINE NOS. 1-10                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH        Document 598-2         Filed 03/13/25    Page 3 of 29



 1           PLEASE TAKE NOTICE that on April 10, 2025, at 2:00 p.m., Defendants NSO Group
 2    Technologies Ltd. and Q Cyber Technologies Ltd. (collectively “NSO”) will bring on for hearing
 3    before the Honorable Phyllis J. Hamilton, United States District Judge, in the United States
 4    Courthouse, 1301 Clay Street, Courtroom 3, Oakland, California, Defendants’ Motions in Limine
 5    Nos. 1 through 10. NSO’s Motions are based on this Notice, the following Points and Authorities,
 6    the accompanying Declaration of Joseph N. Akrotirianakis and exhibits thereto, and such other
 7    written or oral argument as may be presented at or before the time these Motions are taken under
 8    submission by the Court.
 9

10     Dated: March 13, 2025                             KING & SPALDING LLP
11                                                       By: /s/Joseph N. Akrotirianakis
                                                         JOSEPH N. AKROTIRIANAKIS
12                                                       AARON S. CRAIG
13                                                       Attorneys for Defendants

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      NSO’S MOTIONS IN LIMINE NOS. 1-10                                      Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH                Document 598-2                 Filed 03/13/25              Page 4 of 29



 1                                                 TABLE OF CONTENTS
 2
      I.    BACKGROUND ................................................................................................................. 1
 3
            DEFENDANTS’ MOTION NO. 1: ..................................................................................... 1
 4
            DEFENDANTS’ MOTION NO. 2: ..................................................................................... 3
 5
            DEFENDANTS’ MOTION NO. 3: ..................................................................................... 5
 6

 7          DEFENDANTS’ MOTION NO. 4: ..................................................................................... 7

 8          DEFENDANTS’ MOTION NO. 5: ..................................................................................... 8

 9          DEFENDANTS’ MOTION NO. 6: ................................................................................... 12

10          DEFENDANTS’ MOTION NO. 7: ................................................................................... 14
11          DEFENDANTS’ MOTION NO. 8: ................................................................................... 17
12          DEFENDANTS’ MOTION NO. 9: ................................................................................... 18
13          DEFENDANTS’ MOTION NO. 10: ................................................................................. 20
14
      II.   CONCLUSION .................................................................................................................. 21
15

16

17

18

19

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21

22

23

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28

                                                                      i
      NSO’S MOTIONS IN LIMINE NOS. 1-10                                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH                    Document 598-2                 Filed 03/13/25            Page 5 of 29



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                 Page(s)
 3    Cases
 4
      A.T.O. Golden Constr. Corp. v. Allied World Ins. Co.,
 5       2018 WL 5886663 (S.D. Fla. Nov. 9, 2018) ........................................................................... 12

 6    Adams v. United States,
         2009 WL 1324227 (D. Idaho May 7, 2009) ............................................................................. 8
 7
      Bal Seal Eng'g, Inc v. Nelson Prods., Inc,
 8       2019 WL 7865198 (C.D. Cal. Oct. 17, 2019) ........................................................................... 4
 9    Bayless v. Bos. Sci. Corp.,
10       2021 WL 2459275 (M.D. Fla. May 24, 2021) ........................................................................ 12

11    Benjamin v. B&H Educ., Inc.,
         877 F.3d 1139 (9th Cir. 2017)................................................................................................... 4
12
      Corallo v. NSO Grp. Techs. Ltd.,
13       No. 3:22-cv-05229-RS (N.D. Cal.) ......................................................................................... 12
14    Cox v. Cnty. of San Joaquin,
15       2022 WL 4664181 (E.D. Cal. Sept. 30, 2022) ........................................................................ 11

16    Dada v. NSO Grp. Techs. Ltd.,
         No. 3:22-cv-07513-JS (N.D. Cal.) .......................................................................................... 12
17
      De Anza Santa Cruz Mobile Ests. Homeowners Ass’n v. De Anza Santa Cruz
18       Mobile Ests.,
         94 Cal. App. 4th 890 (2001) ............................................................................................. 15, 20
19
      Dukes v. Wal-Mart Stores, Inc.,
20
         2013 WL 1282892 (N.D. Cal. Mar. 26, 2013) ........................................................................ 16
21
      Emuveyan v. Ewing,
22      2022 WL 464306 (D. Utah Feb. 15, 2022) ....................................................................... 15, 20

23    Faigin v. Kelly,
         184 F.3d 67 (1st Cir. 1999) ..................................................................................................... 20
24
      Fluor Corp. v. Zurich Am. Ins. Co.,
25       2021 WL 3021973 (E.D. Mo. July 16, 2021) ......................................................................... 20
26
      Garcia v. LQ Mgmt., LLC,
27       2022 WL 1115207 (C.D. Cal. Mar. 29, 2022) ........................................................................ 11

28

                                                                         ii
      NSO’S MOTIONS IN LIMINE NOS. 1-10                                                                   Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH                        Document 598-2                    Filed 03/13/25               Page 6 of 29



 1    Gonzalez v. City of Phoenix,
         2024 WL 1195512 (D. Ariz. Mar. 20, 2024) .......................................................................... 13
 2
      Halem Indus., Inc. v. Fasco Indus., Inc.,
 3
         865 F.2d 268 (Fed. Cir. 1988) ........................................................................................... 16, 20
 4
      Hamilton v. State Farm Fire & Cas. Co.,
 5      270 F.3d 778 (9th Cir. 2001)..................................................................................................... 6

 6    Jacobs v. Alexander,
         2016 WL 4440957 (E.D. Cal. Aug. 22, 2016) .......................................................................... 8
 7
      Khashoggi v. NSO Group Techs. Ltd.,
 8       No. 1:23-cv-779 (E.D. Va.)..................................................................................................... 13
 9
      Mariscal v. Graco, Inc.,
10      2014 WL 4245949 (N.D. Cal. Aug. 27, 2014).................................................................... 6, 17

11    Martinelli v. Penn Millers Ins. Co.,
        269 F. App’x 226 (3d Cir. 2008) ............................................................................................ 19
12
      Mfg. Automation & Software Sys., Inc. v. Hughes,
13       2019 WL 266970 (C.D. Cal. Jan. 15, 2019) ........................................................................... 20
14
      NSO Group Technologies Ltd. et al., Case No. 5:21-cv-9078-JD ................................................ 12
15
      Nunez v. Coloplast Corp.,
16       2020 WL 2315077 (S.D. Fla. May 11, 2020) ......................................................................... 12

17    In re Oracle Corp. Sec. Litig.,
          2009 WL 1709050 (N.D. Cal. June 19, 2009), aff’d, 627 F.3d 376 (9th Cir.
18        2010) ....................................................................................................................................... 18
19    In re Pac. Pictures Corp.,
20        679 F.3d 1121 (9th Cir. 2012)................................................................................................. 16

21    Pellegrini v. Gooder,
          2012 WL 12893745 (C.D. Cal. Dec. 6, 2012) ........................................................................ 20
22
      Philip Morris USA v. Williams,
23       549 U.S. 346 (2007) ................................................................................................................ 13
24    QBE Ins. Corp. v. Jorda Enters., Inc.,
        277 F.R.D. 676 (S.D. Fla. 2012) ............................................................................................... 9
25

26    Renfroe v. Quality Loan Serv. Corp. of Washington,
         2017 WL 8777463 (E.D. Wash. Oct. 26, 2017)........................................................................ 4
27
      Resolution Trust Corp. v. S. Union Co.,
28       985 F.2d 196 (5th Cir. 1993)................................................................................................... 11
                                                                               iii
         NSO’S MOTIONS IN LIMINE                                                                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH                       Document 598-2                  Filed 03/13/25               Page 7 of 29



 1    Rodman v. Safeway, Inc.,
         2015 WL 5315940 (N.D. Cal. Sept. 11, 2015) ......................................................................... 4
 2
      Rogers v. Bank of Am., N.A.,
 3
         2014 WL 4681031 (D. Kan. Sept. 19, 2014) ............................................................................ 4
 4
      Sackman v. Liggett Grp., Inc.,
 5       173 F.R.D. 358 (E.D.N.Y. 1997) ............................................................................................ 16

 6    Sullivan v. Dollar Tree Stores, Inc.,
          623 F.3d 770 (9th Cir. 2010)............................................................................................. 19, 20
 7
      Tacori Enters. v. Beverlly Jewellery Co.,
 8       253 F.R.D. 577 (C.D. Cal. Sept. 7, 2008) ................................................................................. 9
 9
      United States v. Cameron-Ehlen Grp., Inc.,
10       2023 WL 36174 (D. Minn. Jan. 4, 2023) ................................................................................ 20

11    United States v. CNA Fin. Corp.,
         2005 WL 8159495 (D. Alaska Dec. 28, 2005) ......................................................................... 9
12
      United States v. Johnson,
13       820 F.2d 1065 (9th Cir. 1987)................................................................................................. 16
14
      United States v. Pac. Gas & Elec. Co.,
15       178 F. Supp. 3d 927 (N.D. Cal. 2016) .................................................................................... 19

16    Walker v. Life Ins. Co. of the Sw.,
         2014 WL 12577139 (C.D. Cal. Apr. 3, 2014) .................................................................... 6, 17
17
      Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
18        259 F.3d 1101 (9th Cir. 2001)................................................................................................... 3
19    Zackaria v. Wal-Mart Stores, Inc.,
20       2011 WL 6065169 (C.D. Cal. Dec. 5, 2011) .......................................................................... 13

21    Statutes

22    50 U.S.C. § 4821 ........................................................................................................................... 19

23    Cal Bus. & Prof. Code 17200 et seq. ............................................................................................ 12
24    Cal. Civ. Code § 3294 ........................................................................................................... 1, 9, 17
25    Cal. Pen. Code § 502(e)(4).............................................................................................................. 1
26    Other Authorities
27
      Fed. R. Civ. P. 26 ........................................................................................................................ 3, 4
28
                                                                             iv
         NSO’S MOTIONS IN LIMINE                                                                               Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH                       Document 598-2                  Filed 03/13/25               Page 8 of 29



 1    Fed. R. Civ P. 30(b)(6) .......................................................................................................... 8, 9, 11
 2    Fed. R. Civ. P. 37 ...................................................................................................................... 3, 11
 3    Fed. R. Evid. 401, 402 and 403 .............................................................................................. passim
 4
      Fed. R. Evid. 802 ............................................................................................................................ 7
 5
      Fed. R. Evid. 803 .......................................................................................................................... 16
 6

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         NSO’S MOTIONS IN LIMINE                                                                               Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH          Document 598-2         Filed 03/13/25      Page 9 of 29



 1    I.     BACKGROUND
 2           The Court granted summary judgment as to liability on Plaintiffs’ CFAA, CDAFA, and
 3    breach of contract claims. The issues remaining for the jury to decide are (1) Plaintiffs’
 4    compensatory damages, if any; (2) whether Plaintiffs have established a willful CDAFA violation,
 5    Cal. Pen. Code § 502(e)(4), and malice, fraud, or oppression, id.; Cal. Civ. Code § 3294; and (3) if
 6    so, the amount of punitive damages, if any. (See Dkt. 494 at 16.) The Court should exclude the
 7    evidence described in NSO’s Motions in Limine Nos. 1 through 10 because such evidence is
 8    irrelevant and inadmissible, Fed. R. Evid. 401, 402; should be excluded under Rule 403 as unfairly
 9    prejudicial, confusing of the issues, misleading to the jury, or wasting of time; or is otherwise
10    inadmissible.
11                                   DEFENDANTS’ MOTION NO. 1:
12                    Exclude Evidence of Purported Injury to WhatsApp’s Reputation
13           In the Complaint, Plaintiffs alleged that Defendants caused “damage to Plaintiffs’
14    reputation, and damage to the relationships and goodwill between Plaintiffs and their users and
15    potential users.” (Compl. ¶¶ 64, 73, 78.) Defendants served discovery seeking information about
16    Plaintiffs’ reputation and goodwill, so that Defendants could present their position about whether
17    NSO’s alleged conduct had any negative effect on Plaintiffs’ reputation or goodwill. The discovery
18    Defendants served included requests concerning the record $5 billion fine the FTC levied against
19    Plaintiffs, Plaintiffs’ sharing of user data with Cambridge Analytica, Plaintiffs’ role in developing
20    and using tools similar to Pegasus, and other issues relevant to Plaintiffs’ reputation and goodwill
21    in the specific area of maintaining the privacy of data that users have entrusted to Plaintiffs, among
22    other of Plaintiffs’ numerous scandals.
23           To avoid responding to that discovery, Plaintiffs confirmed in early 2024 that they were
24    abandoning not just their claim for reputational damages, but any and all allegations about harm to
25    their reputation or goodwill. Plaintiffs’ counsel represented that “we are not seeking to admit
26    evidence of reputational harm or loss of goodwill to obtain money damages, and we have now
27    confirmed that we are also not seeking to use such evidence to obtain equitable relief. Nor do we
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      NSO’S MOTIONS IN LIMINE                                                    Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 598-2         Filed 03/13/25      Page 10 of 29



 1    intend to use such evidence to otherwise inject those issues into the litigation for any part of our
 2    case-in-chief.” (Akro. Decl. Exh. A.)
 3              This motion is necessary because Plaintiffs removed a stipulation confirming their
 4    agreement from the Joint Pretrial Statement and have furtively attempted to renege on their
 5    agreement by couching arguments about their reputation and goodwill in other terms. For example,
 6    in responding to questions about whether Pegasus messages crossing WhatsApp servers caused any
 7    harm to the system (which is relevant to whether Defendants caused Plaintiffs’ alleged damages),
 8    Plaintiffs’ expert David Youssef testified that
 9

10             Plaintiffs make similar assertions in their motion for a permanent injunction. (Dkt. 557-3 at
11    18.)     Unless Plaintiffs can prove—contrary to the testimony of all of Plaintiffs’ percipient
12    witnesses—that Pegasus caused some technological impairment of their server or systems, Mr.
13    Youssef’s testimony is simply a disguised way of saying the reputation of Plaintiffs’ technology
14    was impaired.
15              Such testimony, whether by Mr. Youssef or by Plaintiffs’ employees, violates the parties’
16    agreement and has no place in the upcoming trial. Plaintiffs abandoned their claims related to
17    reputation and goodwill to avoid providing discovery to Defendants, and it would be fundamentally
18    unfair to allow Plaintiffs to renege now, when Defendants have been denied the evidence needed
19    to rebut any assertion of reputational harm. Defendants cannot anticipate or list here all the different
20    ways Plaintiffs might couch arguments about reputational harm using words other than “reputation”
21    and “goodwill,” so Defendants request an order prohibiting Plaintiffs and their witnesses from
22    arguing harm to reputation and goodwill, however those arguments are phrased.
23              This motion in limine is brought only after Plaintiffs refused—without explanation—to
24    stipulate, as part of the parties’ Joint Pretrial Statement, that they had “agreed not to introduce
25    evidence of reputational harm or loss of goodwill to obtain money damages or equitable relief, and
26    not to use such evidence to otherwise inject those issues into the litigation for any part of Plaintiffs’
27    case-in-chief.” (Akro. Decl. ⁋ 4.)
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            NSO’S MOTIONS IN LIMINE                                               Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25     Page 11 of 29



 1                                       DEFENDANTS’ MOTION NO. 2:
 2               Exclude Testimony of Witnesses Not Disclosed During Discovery Period
 3           The Court should preclude Plaintiffs from calling at trial any witness not properly listed in
 4    their Rule 26(a)(1) disclosures.
 5           Rule 26(a)(1) requires a party to disclose any witness it “may use to support its claims or
 6    defenses.” Fed. R. Civ. P. 26(a)(1). The party “must . . . provide to the other parties . . . the name
 7    and, if known, the address and phone number of each individual likely to have discoverable
 8    information.” Id. (emphasis added). The Rule further provides that a party has a duty to supplement
 9    earlier disclosures when incorrect or incomplete. Id. If a “party fails to provide information or
10    identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that information
11    or witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was
12    substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). This is an “automatic sanction” of
13    exclusion that provides a “strong inducement for disclosure of material that the disclosing party
14    would expect to use as evidence, whether at a trial, at a hearing, or on a motion.” Id. Advisory
15    Comm. Note to 1993 Amendment, Subd. (c); Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259
16    F.3d 1101, 1106 (9th Cir. 2001).
17           Plaintiffs should not be allowed to call as a witness any person not identified as required in
18    Plaintiffs’ Rule 26(a)(1) disclosures. This includes, for example, summary judgment declarant
19    Meghan Andre. Plaintiffs submitted a declaration from Ms. Andre with their motion for partial
20    summary judgment, which contained Ms. Andre’s description of a search she said she performed
21    of WhatsApp’s records related to WhatsApp’s Terms of Service. (Dkt. 401-3.) Despite Rule 26’s
22    requirements, Plaintiffs had never disclosed Ms. Andre as a witness. (Dkt. 421-3, Exh. G.)
23    Plaintiffs made no attempt to justify their failure to disclose Ms. Andre when they amended their
24    initial disclosures on August 2, 2024, and no substantial justification is conceivable. This case had
25    been pending for several years, during which Plaintiffs have had ample time to evaluate their
26    witnesses and comply with their disclosure obligations.
27           Plaintiffs should also be precluded from calling as a witness any individual employee or
28    representative of the twenty-seven corporate entities listed in their Second Amended Initial

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        NSO’S MOTIONS IN LIMINE                                                 Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25     Page 12 of 29



 1    Disclosures. Rule 26(a)(1) requires the disclosure of “individuals,” and does not “permit the non-
 2    specific listing of a corporation on a witness list as sufficient notice of a previously undisclosed
 3    individual employee's testimony at trial.” Bal Seal Eng'g, Inc v. Nelson Prods., Inc, 2019 WL
 4    7865198, at *5 (C.D. Cal. Oct. 17, 2019); see also Renfroe v. Quality Loan Serv. Corp. of
 5    Washington, 2017 WL 8777463, at *3 (E.D. Wash. Oct. 26, 2017) (Defendants violated Rule 26
 6    by failing “to disclose the names and contact information for specific individuals from Fannie Mae
 7    and Nationstar”); Rogers v. Bank of Am., N.A., 2014 WL 4681031, at *6 (D. Kan. Sept. 19, 2014)
 8    (finding “initial disclosures generically listing custodian of records or corporate representatives to
 9    be insufficient compliance with Rule 26(a)(1)(A)(i)”).
10           Plaintiffs’ failure to disclose witnesses is anything but harmless. By disclosing Ms. Andre
11    after fact discovery had closed, and by generically listing more than two dozen corporate entities
12    in their disclosures, Plaintiffs deprived Defendants of any opportunity to depose Ms. Andre or other
13    individuals about their claims or to gather responsive evidence. As a result, allowing Plaintiffs to
14    call Ms. Andre (or any other undisclosed witness) would prejudice NSO. Benjamin v. B&H Educ.,
15    Inc., 877 F.3d 1139, 1150 (9th Cir. 2017) (finding plaintiff had not shown their failure to disclosure
16    a witness was substantially justified or harmless when the plaintiff waited until summary judgment
17    stage to identify likely witnesses); Rodman v. Safeway, Inc., 2015 WL 5315940, at *2-3 (N.D. Cal.
18    Sept. 11, 2015) (finding that the plaintiff’s failure to timely disclose a witness was neither
19    substantially justified nor harmless when the witness was disclosed after discovery closed and
20    parties’ pretrial disclosures were filed). That prejudice cannot be cured. See Rodman, 2015 WL
21    5315940, at *3.
22           Accordingly, the Court should exclude any witness not properly identified in Plaintiffs’
23    Rule 26(a)(1) disclosures, including but not limited to Ms. Andre and any individual employee or
24    individual representative of the twenty-seven corporate entities listed in Plaintiffs’ initial
25    disclosures.
26    ///
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        NSO’S MOTIONS IN LIMINE                                                 Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25      Page 13 of 29



 1                                    DEFENDANTS’ MOTION NO. 3:
 2        Exclude Evidence of the Identities and Occupations of ~1,400 Targets Referenced in
 3                                                 Complaint
 4           Plaintiffs’ Complaint alleges that in April and May 2019, approximately 1,400 WhatsApp
 5    users were targeted by Defendants’ customers with Pegasus, including “attorneys, journalists,
 6    human rights activists, political dissidents, diplomats, and other senior foreign government
 7    officials.” (Compl. ¶ 42.) Plaintiffs’ only information about the occupations of the targets of
 8    NSO’s customers came from Plaintiffs’ consultant, Citizen Lab. Accordingly, Defendants sought
 9    discovery on this allegation from Plaintiffs and Citizen Lab, which Plaintiffs and Citizen Lab
10    refused to provide. Defendants then filed motions to compel directed at Plaintiffs and Citizen Lab.
11    (See Dkts. 239-2, 239-3, 306, 308, 314.)
12           Plaintiffs strenuously resisted Defendants’ efforts to obtain discovery on these issues. To
13    argue that the discovery was irrelevant, Plaintiffs represented that they would not “call Citizen Lab
14    witnesses or seek to present evidence as to the identities of the Target Users as part of their case-
15    in-chief.” (Dkt. 300 at 1; see also id. at 2 (“No element of any of Plaintiffs’ claims depends on the
16    Target Users’ identities.”).)      The Court denied Defendants’ motions “[b]ased on that
17    representation.” (Dkt. 358 at 3-4.) The Court held that it would account for the limitation on
18    Defendants’ ability to obtain discovery on these matters “[a]t the time of trial . . . when determining
19    the admissibility of evidence.” (Dkt. 358 at 4; see also Dkt. 299 at 3 (“[I]f plaintiffs do not wish to
20    rely on the ‘civil society’-related allegations, then discovery will be denied and the allegations will
21    not be admitted at trial.” (emphasis added)).)
22           Despite Plaintiffs’ representations to the Court and the Court’s reliance on them, Plaintiffs
23    have spent substantial time and effort discussing the purported use of Pegasus by NSO’s customers
24    to monitor members of “civil society,” including in depositions (of NSO’s chief executive officer
25    and NSO’s law-enforcement and military experts) and in their own expert reports. Plaintiffs appear
26    poised to argue that NSO should be held liable for punitive damages, in large part, because they
27    believe that Pegasus has been misused against members of civil society. And Plaintiffs appear
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        NSO’S MOTIONS IN LIMINE                                                 Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2         Filed 03/13/25     Page 14 of 29



 1    poised to argue that their evidence is merely rebuttal to NSO’s case in chief, as opposed to evidence
 2    required affirmatively to support Plaintiffs’ own demand for punitive damages.
 3           The Court should not countenance this gamesmanship and should preclude Plaintiffs from
 4    introducing, at any stage of the trial, any evidence or argument that Pegasus was used to target
 5    “civil society” or any other evidence derived from Citizen Lab’s work and conclusions. Defendants
 6    anticipate Plaintiffs will try to claim that some of the targets of NSO’s clients were innocent
 7    members of “civil society” in order to distract the jury from the following facts: (i) technologies
 8    like Pegasus are essential tools deployed by sovereign governments to combat terrorism and crime
 9    that end-to-end encrypted communications technologies are used to promote; and (ii) far from
10    enabling or condoning alleged instances of abuse of customer Pegasus, Defendants go to
11    considerable lengths to ensure that their technology is used only for its intended counterterrorism
12    and law enforcement purposes—including by contractually obligating clients to use the technology
13    only for such purposes and discontinuing customer access where improper use of the technology
14    has been confirmed. (E.g., Dkt. 396-2 at 3; Dkt. 396-3 ¶ 12, Exh. A ¶ 18.5, & Exh. B ¶ 19.5.; Dkt.
15    396-4 Exh. H at 21:16-25, 26:23-31:17, 181:10-15.) Any such attempt by Plaintiff would be
16    improper and unfair to Defendants. That is so for multiple reasons.
17           First, Plaintiffs (and Citizen Lab) vigorously argued, and the Court agreed, that such
18    evidence is not relevant to Plaintiffs’ claims. (E.g., Dkt. 305 at 4 (“[T]he court concludes that the
19    ‘civil society’ related allegations are not relevant to plaintiffs’ case-in-chief.”).) Plaintiffs are
20    judicially estopped from arguing otherwise now. Hamilton v. State Farm Fire & Cas. Co., 270
21    F.3d 778, 782-84 (9th Cir. 2001). Second, the evidence should be excluded under Rule 403,
22    because allowing it to be presented to the jury after denying Defendants’ discovery motions would
23    be fundamentally unfair. By disclaiming any intent to introduce evidence of the targets’ identities,
24    Plaintiffs’ deprived Defendants of the discovery Defendants would need to impeach Plaintiffs’ and
25    Citizen Lab’s claims. Plaintiffs should not be permitted to renege on their representations now.
26    (Dkt. 299 at 3); see Walker v. Life Ins. Co. of the Sw., 2014 WL 12577139, at *12-13 (C.D. Cal.
27    Apr. 3, 2014) (excluding evidence where court denied related discovery); Mariscal v. Graco, Inc.,
28    2014 WL 4245949, at *2 (N.D. Cal. Aug. 27, 2014) (prejudice warranting exclusion of evidence

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        NSO’S MOTIONS IN LIMINE                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2           Filed 03/13/25     Page 15 of 29



 1    exists where opponent has been denied the opportunity for adequate discovery). Third, documents
 2    and communications generated by Citizen Lab (which is beyond the Court’s subpoena power and
 3    which Plaintiffs have represented will not be called to testify at trial) are inadmissible hearsay that
 4    do not fall within any exception, and Plaintiffs did not produce any evidence generated by anyone
 5    other than Citizen Lab that could plausibly support its “civil society” theory. Fed. R. Evid. 802.
 6                                    DEFENDANTS’ MOTION NO. 4:
 7                              Exclude Argument that NSO “Used” Pegasus
 8           Throughout this case, Plaintiffs have falsely and inflammatorily asserted that Defendants,
 9    rather than their sovereign government customers, installed and operated Pegasus on devices of
10    nonconsenting WhatsApp users. (E.g., Compl. ¶¶ 1, 32, 42.)
11

12

13

14                                              But Plaintiffs have never identified any factual support for
15    these allegations—because there is none. (Compare Dkt. 396-2 at 2, 18-19 (Defendants’ summary
16    judgment motion noting the absence of any evidence supporting these allegations), with Dkt. 418-
17    3 at 1, 17-18 (Plaintiffs’ opposition brief identifying no such evidence, only arguing that NSO is
18    nevertheless “responsible” and “liable” for its customers’ use of Pegasus).) Indeed, Plaintiffs’ own
19

20                                In the absence of any factual support, the Court should not permit the
21    jury to hear baseless, inflammatory, and false speculation that NSO operates Pegasus or views and
22    collects information from target users.
23           The uncontroverted record evidence confirms that Defendants did not and do not operate
24    Pegasus technology.     NSO markets and licenses the Pegasus technology to its government
25    customers, which then operate the Pegasus technology themselves, to advance their own sovereign
26    interests of fighting terrorism and serious crime. (Dkt. 396-3 ¶ 14; Dkt. 396-5, Exh. H. at 234:8-9,
27    Exh. I at 316:11-317:2.) Defendants do not participate in any governmental customer’s installation
28    of the Pegasus technology on any target device; indeed, they are legally and contractually

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        NSO’S MOTIONS IN LIMINE                                                 Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2         Filed 03/13/25     Page 16 of 29



 1    prohibited from doing so. (Dkt. 396-3 ¶ 14; id., Exh. A ¶ 2.4, Exh. B ¶ 2.4.) NSO provides technical
 2    support to assist governmental customers in setting up and maintaining Pegasus, but not in
 3    operating Pegasus. (Id. ¶ 15, Exh. A at 9, 14-15 & Exh. B at 9, 14-15.) Accordingly, Defendants
 4    have never participated in any governmental customer’s installation of the Pegasus agent on any
 5    target device, and Defendants have never installed Pegasus on any device other than for research
 6    or sales/demonstration purposes—which was always done with the knowledge and consent of the
 7    device owner. (Id. ¶¶ 14, 16.)
 8           Plaintiffs’ assertion that NSO is liable for its customers’ actions as a co-conspirator does
 9    not change this conclusion. Although NSO disputes that Plaintiffs have submitted any evidence
10    sufficient to prove a conspiracy, the existence of a conspiracy would not change which parties
11    actually operated Pegasus. Whether NSO conspired with its customers by licensing Pegasus (it did
12    not) is relevant only to liability, which this Court resolved on summary judgment and is not relevant
13    to the issues to be determined by the jury. Fed. R. Evid. 401, 402. The conspiracy question is
14    distinct from the factual question of whether NSO itself operated Pegasus. The undisputed evidence
15    shows that NSO did not do so, and Plaintiffs do not even have a good faith basis to claim otherwise.
16           Accordingly, allowing Plaintiffs to repeat the false statements of Mr. Woog and others in
17    trial testimony would mislead the jury, confuse the issues, and otherwise subject Defendants to
18    unfair prejudice. Fed. R. Evid. 403. Plaintiffs should accordingly be precluded from arguing or
19    eliciting testimony that NSO used Pegasus. See, e.g., Jacobs v. Alexander, 2016 WL 4440957, at
20    *10 (E.D. Cal. Aug. 22, 2016) (excluding argument and testimony for which “there is not a scintilla
21    of evidence”); Adams v. United States, 2009 WL 1324227, at *2-4 (D. Idaho May 7, 2009)
22    (excluding “evidence, testimony or argument . . . that have no support in the record”).
23                                     DEFENDANTS’ MOTION NO. 5:
24              Exclude Testimony on Topics about which Plaintiffs Refused to Produce a Rule
25                                             30(b)(6) Witness
26           The Court should exclude evidence of topics for which Plaintiffs refused to provide
27    knowledgeable, prepared Rule 30(b)(6) witnesses. When litigants refuse to designate a witness in
28    response to proper topics in a Rule 30(b)(6) notice of deposition, courts have a variety of sanctions

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        NSO’S MOTIONS IN LIMINE                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 598-2           Filed 03/13/25     Page 17 of 29



 1    available to them, including precluding the party from eliciting testimony on those subjects. E.g.,
 2    Tacori Enters. v. Beverlly Jewellery Co., 253 F.R.D. 577, 583 (C.D. Cal. Sept. 7, 2008) (precluding
 3    defendant from presenting evidence regarding topics that would have been covered in deposition
 4    where counsel had interfered with prior deposition of corporate designee); QBE Ins. Corp. v. Jorda
 5    Enters., Inc., 277 F.R.D. 676, 678 (S.D. Fla. 2012).
 6              NSO timely served on Plaintiffs a deposition notice setting forth several unobjectionable
 7    topics relevant to the remedies being sought by Plaintiffs for which Plaintiffs refused to produce a
 8    witness. After Plaintiffs objected to these topics and refused to produce a witness, even after
 9    substantial attempts at compromise, NSO proceeded with the 30(b)(6) deposition as to the topics
10    to which Plaintiffs agreed. NSO also filed a motion to compel (Dkt. 381), 1 which the Court denied
11    as moot due to its summary judgment order (Dkt. 494 at 15). The Court’s mootness finding
12    necessarily means that it viewed the topics at issue to be irrelevant to the trial of the remaining
13    disputed issues. And Plaintiffs, having refused to prepare a 30(b)(6) witness and then obtained a
14    mootness denial of Defendants’ motion to compel, should not be able to introduce evidence on
15    those topics at trial. Plaintiffs’ “self-help” should not go without consequence. The appropriate
16    remedy is for the Court to refuse to allow Plaintiffs’ witnesses to testify as to three of these subjects,
17    as set forth below.
18              1.     Defendants’ actions constituting malice, oppression, or fraud (Topic 23)
19              Plaintiffs alleged “there is clear and convincing evidence that Defendants acted with malice
20    and oppression and committed ‘fraud’ as defined by section 3294 of the Civil Code.” (Compl. ⁋
21    66.) NSO’s 30(b)(6) topic no. 23 was “Defendants’ alleged action with malice and oppression and
22    alleged commission of fraud.” (Dkt. 381-2 at 2, 29). Plaintiffs objected that the topic would be the
23    subject of expert testimony or that was essentially a contention interrogatory, neither of which is a
24    proper basis to refuse to provide a Rule 30(b)(6) witness as to the factual bases for Plaintiffs’
25    allegations of malice, oppression, or fraud. See United States v. CNA Fin. Corp., 2005 WL 8159495,
26    at *1 (D. Alaska Dec. 28, 2005) (ordering plaintiff to designate 30(b)(6) witness on “[a]ll bases for
27    the [plaintiff’s] position that punitive damages are appropriate in this case”). It would be unfair for
28
      1
          Plaintiffs never moved for a protective order.
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          NSO’S MOTIONS IN LIMINE                                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25    Page 18 of 29



 1    the Court to allow Plaintiffs to refuse to designate a witness on this topic, to deny Defendants’
 2    motion to compel, and then to allow Plaintiffs to present the testimony they refused to provide in
 3    discovery. To be clear, NSO is aware of no conduct that was malicious, oppressive, or fraudulent,
 4    but this Motion is still necessary to prevent Plaintiffs from sandbagging NSO at trial after refusing
 5    to designate a witness on this subject.
 6           2.      Plaintiffs’ cooperation with law enforcement and efforts to address whether
 7                   WhatsApp hampers efforts to stop crime, terrorism, and child exploitation imagery
 8                   (Topics 26 and 29)
 9           NSO’s 30(b)(6) deposition notice included topic 26: “WhatsApp’s policies and practices in
10    2018-present in complying with requests of law enforcement and/or intelligence agencies with
11    respect to WhatsApp traffic and WhatsApp’s ‘willingness to action highly dangerous content.’” It
12    also included topic 29: “Plaintiffs’ efforts from 2018-present to address whether WhatsApp’s
13    encrypted platform hampers efforts to stop crime, terrorism and child exploitation imagery.” (Dkt.
14    381-2 at 2, 32-34.) Plaintiffs refused to designate a witness, relying primarily on relevance
15    objections. (Id.)
16           These topics are relevant to issues facing both the jury and this Court. NSO anticipates
17    Plaintiffs arguing that punitive damages are warranted because the use of Pegasus by NSO’s
18    customers is inherently oppressive and malicious, in that there is no need for law enforcement to
19    have intelligence tools like Pegasus because Plaintiffs are making efforts to take action against
20    terrorism and child exploitation imagery and cooperate with law enforcement. These issues may
21    also become relevant to Plaintiffs’ requested equitable remedies of disgorgement and the scope of
22    any possible injunction. It would be manifestly unfair to allow Plaintiffs to refuse to provide a
23    corporate designee on these topics and then allow Plaintiffs to testify about their policies and
24    practices in taking action against dangerous content and cooperating with law enforcement.
25           3.      Damages theories other than “the actions Plaintiffs took, and the time Plaintiffs’
26                   employees spent, responding to NSO’s exploit in May 2019” (Topics 15, 16, 45,
27                   and 46)
28

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        NSO’S MOTIONS IN LIMINE                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2           Filed 03/13/25     Page 19 of 29



 1            NSO propounded four topics related to Plaintiffs’ claims for compensatory damages: topics
 2    15, 16, 45 and 46. (Dkt. 381-2 at 2-3, 23-25, and 44-45.) While Plaintiffs originally refused to
 3    designate a witness about any aspect of these topics, they ultimately relented and agreed to produce
 4    a witness to testify only about “the actions Plaintiffs took, and the time Plaintiffs’ employees spent,
 5    responding to NSO’s exploit in May 2019.” (Id.) Plaintiffs should not now be allowed to introduce
 6    evidence or argument of any compensatory damages other than the actions Plaintiffs took and the
 7    time Plaintiffs’ employees spent responding to NSO’s exploit in May 2019. For example, actions
 8    Plaintiffs took doing things other than responding to NSO’s exploit, or responding to any NSO
 9    exploit other than the one in May 2019, should be excluded.
10            Plaintiffs should also be limited to the testimony given on these topics by their 30(b)(6)
11    designee, Andrew Robinson. Plaintiffs’ expert, Dana Trexler, calculates sums associated with the
12    time of 22 employees of Plaintiffs to reach her compensatory damages figure of $444,719.
13    Plaintiff’s 30(b)(6) witness concerning “the time spent by Plaintiffs’ employees in responding to
14    Defendants’ exploit” testified that
15                                                        or even the employees’ titles. (Akro Decl. Exh.
16    E, Robinson Tr. at 295:25-301:12.) As to another employee,
17

18                                                                    (Id.) Plaintiffs should not be allowed
19    to supplement the testimony of their partially educated 30(b)(6) witness. 3 The refusal to produce
20    an educated Rule 30(b)(6) witness is a weighty one and should not be without consequence.
21

22

23    3
        See Resolution Trust Corp. v. S. Union Co., 985 F.2d 196, 197 (5th Cir. 1993) (“When a
24    corporation or association designates a person to testify on its behalf, the corporation appears
      vicariously through that agent. If that agent is not knowledgeable about relevant facts, and the
25    principal has failed to designate an available, knowledgeable, and readily identifiable witness, then
      the appearance is, for all practical purposes, no appearance at all”); Cox v. Cnty. of San Joaquin,
26    2022 WL 4664181, at *2 (E.D. Cal. Sept. 30, 2022) (“Producing an unprepared witness is
27    tantamount to a failure to appear that is sanctionable under Rule 37(d)”); Garcia v. LQ Mgmt., LLC,
      2022 WL 1115207, at *8 (C.D. Cal. Mar. 29, 2022) (“[A] party served with a Rule 30(b)(6) notice
28    may be sanctioned for producing a partially educated witness with selective knowledge that only
      benefits the corporate party.”)
                                                        11
          NSO’S MOTIONS IN LIMINE                                               Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 598-2          Filed 03/13/25   Page 20 of 29



 1    Plaintiffs should be prohibited from eliciting witness testimony about topics 23, 26, 29 and
 2    undisclosed damages theories, and from producing testimony to fill in gaps for which their 30(b)(6)
 3    designee was uneducated and unprepared.
 4    ///
 5                                      DEFENDANTS’ MOTION NO. 6:
 6    Exclude Evidence About Other Lawsuits Against NSO and the Use of Pegasus Being Related to
 7                                        the Death of Jamal Khashoggi
 8              Several now-dismissed lawsuits were filed in this district and elsewhere against Defendants,
 9    asserting unrelated and unproven claims. The Court should exclude reference to other litigation
10    involving Defendants because it would be irrelevant to the issues for this jury to decide, and the
11    mention of other litigation creates substantial risk of undue prejudice. Courts routinely exclude
12    evidence of other litigation involving the parties or related claims under Rules 401, 402, or 403
13    because “the minimal value, if any, of such proof is substantially outweighed by the risk of unfair
14    prejudice to [a defendant] arising from the admission of evidence of allegations in other lawsuits
15    filed against it.” 4 The same rationale applies here for the same reasons. Discussion of other
16    lawsuits, moreover, would confuse the issues, mislead the jury, and waste time. Fed. R. Evid. 403.
17              In an action in this District before Judge Donato, another plaintiff voluntarily dismissed a
18    complaint alleging Defendants “sen[t] abusive data . . . through Apple servers” to “deploy their
19    Pegasus spyware” against target users using Apple devices in violation of the CFAA, Cal Bus. &
20    Prof. Code 17200 et seq., and the Apple Terms of Service. Dkt. 1 ¶¶ 46, 50-51, Apple Inc. v. NSO
21    Group Technologies Ltd. et al., Case No. 5:21-cv-9078-JD (N.D. Cal.) (“Apple”). Judge Donato
22    and Judge Seeborg dismissed other actions filed against NSO in this district. Dada v. NSO Grp.
23    Techs. Ltd., No. 3:22-cv-07513-JS (N.D. Cal.) (“Dada”); Corallo v. NSO Grp. Techs. Ltd., No.
24    3:22-cv-05229-RS (N.D. Cal.) (“Corallo”). Finally, Judge Leonie Brinkema dismissed under Rule
25
      4
        A.T.O. Golden Constr. Corp. v. Allied World Ins. Co., 2018 WL 5886663, at *9 (S.D. Fla. Nov.
26    9, 2018); Nunez v. Coloplast Corp., 2020 WL 2315077, at *14 (S.D. Fla. May 11, 2020) (excluding
27    evidence of “other [pelvic] mesh litigation” against defendant and other mesh manufacturers,
      reasoning “[t]here is no bona fide relevance to this case.”); Bayless v. Bos. Sci. Corp., 2021 WL
28    2459275, at *1 (M.D. Fla. May 24, 2021) (requiring the parties to “sanitize the evidence to remove
      reference to other [pelvic mesh] litigation.”).
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            NSO’S MOTIONS IN LIMINE                                             Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25    Page 21 of 29



 1    12(b)(2) a lawsuit brought in the Eastern District of Virginia by Hanan Elatr, the widow of slain
 2    Washington Post columnist Jamal Khashoggi. Khashoggi v. NSO Group Techs. Ltd., No. 1:23-cv-
 3    779 (E.D. Va.) (“Khashoggi”). Ms. Elatr alleged Pegasus “aided in the collection of information
 4    that ultimately led to the assassination of Jamal Khashoggi.” (Khashoggi, Dkt. 50 at 3.)
 5           The unproven allegations in these and other legal proceedings are inadmissible hearsay.
 6    E.g., Gonzalez v. City of Phoenix, 2024 WL 1195512, at *20 (D. Ariz. Mar. 20, 2024); Zackaria v.
 7    Wal-Mart Stores, Inc., 2011 WL 6065169, at *3 (C.D. Cal. Dec. 5, 2011), Even were they not,
 8    other legal proceedings against NSO are not “of consequence” and do not make “more or less
 9    probable” any material fact concerning the remaining issues in this case and are thus inadmissible.
10    Fed. R. Evid. 401, 402; Dkt. 494, Order at 12-13, 15. The Apple, Dada, and Corallo cases involved
11    different installation vectors relating to the iOS operating system, not Android. Apple, Compl. ¶ 51,
12    Dkt. 1; Corallo, Compl. ¶ 39, Dkt. 1; Dada, Am. Compl. ¶ 63. And the plaintiff in Khashoggi
13    alleged that UAE government agents “manually” installed Pegasus on her phone. Khashoggi,
14    Compl. ¶ 106, Dkt. 1. Those lawsuits are wholly unrelated to the use of WhatsApp’s servers.
15           The lawsuits are also irrelevant to damages, whether compensatory or punitive.
16    Compensatory damages awardable under the CFAA and CDAFA relate solely to Plaintiffs’
17    investigation and response costs. The existence of other lawsuits has no relevance those costs or
18    whether those costs were caused by NSO. Nor can lawsuits involving other plaintiffs be relevant
19    to punitive damages, because “the Due Process Clause prohibits[] inflicting punishment for harm
20    caused strangers to the litigation.” Philip Morris USA v. Williams, 549 U.S. 346, 357 (2007).
21           Evidence of other unrelated lawsuits also is also inadmissible under Rule 403 because the
22    risk of unfair prejudice and confusion of the issues would substantially outweigh even if there were
23    any negligible probative value.     For example, the shocking and sensational (and unproven)
24    allegations in Khashoggi falsely accuse Defendants of participation in the assassination of a
25    journalist, which could serve only to inflame the passions of the jury and unfairly prejudice it
26    against NSO.
27           Moreover, reference to Mr. Khashoggi should be excluded in its entirety. Mr. Khashoggi
28    was a Saudi journalist who wrote criticisms of the Kingdom of Saudi Arabia and other Middle East

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        NSO’S MOTIONS IN LIMINE                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2           Filed 03/13/25     Page 22 of 29



 1    governments. Mr. Khashoggi is believed to have been assassinated in 2018 at the Saudi consulate
 2    in Istanbul. Although NSO and Pegasus had nothing whatsoever to do with Mr. Khashoggi’s
 3    killing, Defendants anticipate that Plaintiffs may attempt to introduce unproven and debunked
 4    allegations that Pegasus was involved in it.
 5            Khashoggi was dismissed at the pleading stage, and no discovery was taken. According to
 6    public reporting, however, Mr. Khashoggi visited the Saudi consulate in September 2018 to obtain
 7    a Saudi document stating that he was divorced, so that he could marry his Turkish fiancée, Hatice
 8    Cengiz. Mr. Khashoggi was told he would have to return to pick up the document and arranged to
 9    do so on October 2, 2018. 5 Mr. Khashoggi never left the Saudi embassy after arriving on October
10    2 and is widely believed to have been killed there. But his killers knew Mr. Khashoggi would be
11    at the Istanbul consulate because he made (and kept) an appointment to be there, not from any use
12    of Pegasus. Exposing the jury to assertions about Jamal Khashoggi, even though they are easily
13    debunked, would unfairly prejudice Defendants. The Court should exclude such inflammatory
14    allegations under Rules 401, 402, and 403.
15                                   DEFENDANTS’ MOTION NO. 7:
16          Exclude Evidence of                                               and Related Information
17            The Court should exclude as irrelevant and unfairly prejudicial evidence relating to
18                                             Related press coverage should also be excluded on the
19    additional basis that it is inadmissible hearsay, and the Court should exclude reference to any stolen
20    privileged documents.
21            As the Court knows,
22

23

24                         (Dkt. 214-3 ¶ 5 & Exh. B.)
25

26    (Id. ¶¶ 4-6 & Exh. B.)
27
      5
28     See, e.g., Jamal Khashoggi: All you need to know about Saudi journalist’s death, Feb. 24, 2021,
      https://www.bbc.com/news/world-europe-45812399 (visited Jan. 3, 2025).
                                                        14
          NSO’S MOTIONS IN LIMINE                                                Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 598-2             Filed 03/13/25   Page 23 of 29



 1           (id. Exh. C, D), and they plainly
 2                            (id. Exh. C ¶ 4(c)-(e)).
 3                                       , Plaintiffs have repeatedly maligned both NSO and NSO’s trial
 4    counsel,                                                             . (See, e.g., Plaintiffs’ Motion for
 5    Sanctions (Dkt. 405-2) at 3-5.) Worse, Plaintiffs have relied on a handful of press clippings
 6                                                                                                    —which
 7    Plaintiffs admit could be incorrect—to insinuate that NSO and its trial counsel may have made
 8    misrepresentations to the Court. (See id.; Dkt. 464 at 84:9-11 (“Public reporting has also suggested,
 9    whether it’s true or not, I can’t say, that the NSO specifically went to the Israeli government to
10    seek some protection.”); id. at 84:24-25 (“So again, that’s what’s been reported in the press, I can’t
11    verify that’s true.”).) 6 When NSO addressed this misleading portrayal (id. at 91:5-25), Plaintiffs’
12    counsel then attempted to make arguments based on what appears to be a privileged King &
13    Spalding LLP memorandum                                                           (id. at 93:5-6). NSO
14    asserted a claim of continuing privilege over that document months earlier (Akro. Decl. ¶ 2), but
15    Plaintiffs’ counsel still tried to use it in open court.
16            The Court should exclude any evidence relating to                                                 ,
17    as well as                                                                   .
18            First,
19    are not relevant to any issue remaining to be tried by the jury. Fed. R. Evid. 401. They are not
20    relevant to Plaintiffs’ claims for compensatory damages, which are narrowly focused on
21    investigation costs. Nor are they relevant to Plaintiffs’ claims for punitive damages, which are
22    based on NSO’s development and licensing of three versions of Pegasus between 2018 and 2020. 7
23    6
        The press coverage ramped up sharply shortly after Facebook and WhatsApp claim to have
24    discovered the materials themselves, and Plaintiffs refused to produce any of their communications
      with the press about these materials. (See Akro. Decl. ¶ 3.)
25    7
        To the extent Plaintiffs falsely claim that
                         , they would remain irrelevant. See Emuveyan v. Ewing, 2022 WL 464306, at *3
26    (D. Utah Feb. 15, 2022) (rejecting “the idea that a party's discovery misconduct (or a court's findings
27    as to such misconduct) is relevant to a punitive damages’ claim”); De Anza Santa Cruz Mobile Ests.
      Homeowners Ass’n v. De Anza Santa Cruz Mobile Ests., 94 Cal. App. 4th 890, 921 (2001) (reversing
28    award of punitive damages that was premised on “improper evidence of defendant’s litigation

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          NSO’S MOTIONS IN LIMINE                                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2          Filed 03/13/25     Page 24 of 29



 1    Plaintiffs themselves have conceded as much by refusing to produce related documents and
 2    communications on the basis they were irrelevant. (See Akro. Decl. ¶ 3.)
 3           Second, any limited probative value would be substantially outweighed by the danger of
 4    unfair prejudice, confusing the issues, undue delay, and wasting time. Fed. R. Evid. 403. Allowing
 5    Plaintiffs to introduce media speculation regarding the origins of
 6                —and to imply that NSO was seeking to avoid discovery obligations in this lawsuit—
 7    risks a jury decision prompted by an “emotional response” rather than consideration of the actual
 8    evidence. See United States v. Johnson, 820 F.2d 1065, 1069 (9th Cir. 1987) (“Unfair prejudice is
 9    measured by the degree to which a jury responds negatively to some aspect of the evidence
10    unrelated to its tendency to make a fact in issue more or less probable.”). It would also needlessly
11    confuse the issues before the jury, particularly given that NSO is
12                                                                                      . (See Dkt. 214-3
13    Exh. C ¶ 4, Exh. D.).
14           Third, the press articles on which Plaintiffs rely are inadmissible hearsay. Fed. R. Evid. 803.
15           Fourth, the materials posted to ednakarnaval.com and later recirculated by additional media
16    outlets are not authenticated. But even if they were, any privileged materials (such as memoranda
17    from King & Spalding LLP) would remain protected by the attorney-client privilege and the
18    attorney work-product doctrine. See In re Pac. Pictures Corp., 679 F.3d 1121, 1130 (9th Cir. 2012)
19    (involuntary disclosures do not waive attorney-client privilege); Dukes v. Wal-Mart Stores, Inc.,
20    2013 WL 1282892, at *6 (N.D. Cal. Mar. 26, 2013) (leak of memorandum did not waive privilege
21    where company “took reasonable steps to clearly mark the Memo as privileged and to maintain it
22    in a secure location and limit its dissemination”); Sackman v. Liggett Grp., Inc., 173 F.R.D. 358,
23    365 (E.D.N.Y. 1997) (“assertion of privilege . . . is not waived through public disclosure of a stolen
24    privileged document”). NSO informed Plaintiffs, in writing and with citations to relevant legal
25    authorities, that any such King & Spalding memoranda would be privileged. (Akro. Decl. ¶ 2.)
26    Despite this, and without challenging NSO’s assertion of privilege, Plaintiffs attempted to introduce
27

28    conduct”); Halem Indus., Inc. v. Fasco Indus., Inc., 865 F.2d 268 at *2 (Fed. Cir. 1988) (discovery
      conduct “might support a discovery sanction but is not a proper basis for punitive damages”).
                                                       16
        NSO’S MOTIONS IN LIMINE                                                 Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH           Document 598-2            Filed 03/13/25    Page 25 of 29



 1    argument regarding privileged materials at the court hearing in November 2024. (See Dkt. 464 at
 2    93:5-6.) They should be prevented from attempting to do so before the jury.
 3                                                              , the purportedly hacked materials posted to
 4    ednakarnaval.com, and any related press articles are wholly irrelevant to the remaining issues for
 5    trial, including the amount of any compensatory or other damages Plaintiffs seek to recover (or
 6    whether any injunction should be ordered). They are also unfairly prejudicial and consist mostly
 7    of hearsay or privileged information. All such evidence should be excluded.
 8                                      DEFENDANTS’ MOTION NO. 8:
 9                 Exclude Evidence of “Black Cube” and Its Purported “Intimidation”
10            Black Cube is an Israeli private intelligence firm unassociated with any party to this case.
11    Non-party, non-witness Citizen Lab claims previously to have been “intimidated” by Black Cube
12    and has speculated in the press that Black Cube was acting on behalf of NSO. Plaintiffs’ 30(b)(6)
13    designee, Andrew Robinson, testified that he read a New York Times article and had conversations
14    with Plaintiffs’ prior counsel in this litigation, to the effect that
15

16                                     Mr. Robinson testified that
17

18    Beyond Mr. Robinson’s speculation, there is no evidence of any connection between NSO and
19    Black Cube or any interactions between Black Cube and Citizen Lab, and in same article Mr.
20    Robinson referenced, NSO denied any connection. The Court should exclude the Black Cube
21    evidence for several reasons.
22            First, it is inflammatory, and its admission would unfairly prejudice Defendants. Walker,
23    2014 WL 12577139, at *12-13; Mariscal, 2014 WL 4245949, at *2. Second, the Black Cube
24    evidence is irrelevant to the remedies available to Plaintiffs—it does not address costs Plaintiffs
25    purportedly incurred with their investigation of the incident—and it is therefore inadmissible. Fed.
26    R. Evid. 401, 402. Further, without any evidence that NSO has connections with Black Cube,
27    unsubstantiated speculation about Black Cube cannot be offered as evidence of action by NSO at
28    all, let alone evidence that NSO acted with oppression, fraud, or malice. Cal. Civ. Code § 3294.

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        NSO’S MOTIONS IN LIMINE                                                    Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH          Document 598-2           Filed 03/13/25      Page 26 of 29



 1    Finally, Citizen Lab’s out-of-court statements and the New York Times article discussing Black
 2    Cube are inadmissible hearsay. See In re Oracle Corp. Sec. Litig., 2009 WL 1709050, at *8 (N.D.
 3    Cal. June 19, 2009), aff’d, 627 F.3d 376 (9th Cir. 2010). The Court should exclude evidence
 4    concerning Black Cube.
 5                                     DEFENDANTS’ MOTION NO. 9:
 6             Exclude Evidence of the Entity List and President Biden’s Executive Order
 7            The Court should exclude introduction of testimony regarding (1) the U.S. Department of
 8    Commerce, Bureau of Industry and Security (“BIS”) placing NSO Group Technologies Ltd. on the
 9    “Entity List” and (2) former President Biden’s March 27, 2023, Executive Order announcing that
10    the U.S. government would not use certain kinds of commercial spyware.
11            Entity List. Evidence related to NSO being added to the BIS Entity List—which counsel
12    for Plaintiffs have insisted upon referencing as the “black list,” is irrelevant and unfairly prejudicial,
13    and it is inadmissible under Federal Rules 401, 402, and 403. To begin with, BIS does not regulate
14    either NSO’s business or the use of NSO’s technology by others. BIS’s jurisdiction is limited to
15    exports and transfers of certain goods and technologies. The companies on the Entity List are not
16    “blacklisted,” but subject to licensing requirements for the exporting or transferring of certain
17    items. 8 The exporting and transferring of items to NSO is irrelevant to this dispute. Moreover,
18    NSO was added to the Entity List in November 2021, over two years after this case was filed.
19            Even if evidence of the Entity List or BIS’s rationale for adding NSO had some minimal
20    relevance, any “probative value is substantially outweighed by a danger of … unfair prejudice” to
21    NSO.     Fed. R. Evid. 403.      References to the Entity List (particularly referring to it as a
22    “blacklisting”) are likely to mislead the jury by leading them to adopt BIS’s assessment onto the
23    distinct facts of this case. The Entity List is developed by the Department of Commerce based on
24    its assessment of U.S. national security standards, while this case deals with computer fraud and
25    breach of contract allegations. The jury, however, would likely not be able to distinguish between
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27     Bureau of Industry and Security, FAQ, Can I purchase items from a company that is listed on the
      Entity List?, https://www.bis.gov/faqs/can-i-purchase-items-company-listed-entity-list (last
28    accessed Jan. 3, 2025). A company’s inclusion on the Entity List “does not create a prohibition on
      purchases” from that company. Id.
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          NSO’S MOTIONS IN LIMINE                                                  Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 598-2           Filed 03/13/25     Page 27 of 29



 1    BIS’s conclusions—reached under a different legal standard and for a different purpose—and the
 2    issues in this case. See United States v. Pac. Gas & Elec. Co., 178 F. Supp. 3d 927, 947-48 (N.D.
 3    Cal. 2016) (precluding references to the conclusions and opinion contained in the National
 4    Transportation Safety Board report written regarding the defendant where the ultimate issue of
 5    NTSB’s investigation was not at issue in the case and finding that “admitting the NTSB’s
 6    conclusions invites the jury to improperly substitute the NTSB’s findings” for its own); Martinelli
 7    v. Penn Millers Ins. Co., 269 F. App’x 226, 229 (3d Cir. 2008) (affirming district court’s exclusion
 8    of EEOC determination after considering that the fact that it “originated from an authoritative
 9    government agency could confuse and mislead the jury and unfairly prejudice [defendant]”). 9
10            Exposing the jury to NSO’s inclusion on the Entity List is especially unfair because NSO
11    had no opportunity to challenge its inclusion on the Entity List, to present any evidence or
12    arguments in its support before being added to the Entity List, or to prove that it did not have a role
13    in any foreign government’s misuse of its technology before being added to the Entity List. A
14    request for removal has been made and is currently pending before the Commerce Department.
15    Companies added to the Entity List are exempt from the Administrative Procedure Act’s
16    requirement of opportunity for public participation (50 U.S.C. § 4821), meaning that no hearing
17    was held where NSO could present a defense to inclusion on the Entity List. See Sullivan v. Dollar
18    Tree Stores, Inc., 623 F.3d 770, 778 (9th Cir. 2010) (excluding Department of Labor report because
19    report’s “exhibits are not attached. Its author is unidentified and unknown, making it impossible to
20    assess the author’s skill or experience. No hearing was held.”). Accordingly, the Court should
21    preclude Plaintiffs from introducing any evidence related to NSO’s placement on the Entity List.
22            Executive Order. Likewise, evidence regarding former President Biden’s March 2023
23    Executive Order is irrelevant and prejudicial. Plaintiffs will try to argue that the Order banned the
24    use of Pegasus in the United States, but that is false. The Order does not mention NSO and does
25    not bar commercial spyware generally. Indeed, it lays out the criteria for determining how certain
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27      BIS’s decision followed unproven public reporting that Uganda used Pegasus against mobile
      phones with Ugandan numbers, in Uganda, and that the mobile phones were used by civilian
28    employees of the U.S. Embassy in Uganda. Those reports should also be excluded because they
      are hearsay, irrelevant, and unduly prejudicial.
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          NSO’S MOTIONS IN LIMINE                                               Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH          Document 598-2         Filed 03/13/25     Page 28 of 29



 1    spyware can be used responsibly. It would be extremely prejudicial to reference the Order without
 2    discussing what Defendants have done both before and after the Executive Order to avoid, mitigate,
 3    or remove the risks surveillance technologies can pose as identified in the Order. Moreover, like
 4    the BIS’s decision, the Order was not a result of an adjudicative process in which NSO could
 5    present a defense or an explanation. Sullivan, 623 F.3d at 778. This Court should preclude Plaintiffs
 6    from introducing any evidence related to the Executive Order.
 7                                    DEFENDANTS’ MOTION NO. 10:
 8                                    Exclude Evidence of Pretrial Sanctions
 9             Evidence concerning pretrial sanctions is irrelevant to the damages available to Plaintiffs
10    and is, therefore, inadmissible. Fed. R. Evid. 402. District courts have consistently granted motions
11    in limine regarding references to pretrial sanctions. Emuveyan, 2022 WL 464306, at *3; De Anza
12    Santa Cruz Mobile Ests. Homeowners Ass’n, 94 Cal. App. 4th at 921; Halem Indus., 865 F.2d at *2;
13    see also, e.g., Pellegrini v. Gooder, 2012 WL 12893745, at *1 (C.D. Cal. Dec. 6, 2012) (granting
14    motion in limine “to exclude all references to the sanction previously imposed on the [d]efendants
15    with regard to discovery disclosures” because it was “not relevant”); United States v. Cameron-
16    Ehlen Grp., Inc., 2023 WL 36174, at *8 (D. Minn. Jan. 4, 2023) (granting motion in limine to
17    exclude discovery sanctions).
18             Even if the circumstances involving any pretrial sanctions were deemed minimally relevant,
19    their probative value is outweighed by the danger that presenting them to the jury would be
20    confusing, misleading, and would risk significantly and unfairly prejudicing the jury against
21    Defendants. 10
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         See Fluor Corp. v. Zurich Am. Ins. Co., 2021 WL 3021973, at *5-6 (E.D. Mo. July 16, 2021)
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      (holding that references to such sanctions should be precluded from trial for having limited
24    probative value and risk of unfair prejudice to defendant); Faigin v. Kelly, 184 F.3d 67, 79 (1st Cir.
      1999) (affirming trial court’s exclusion of evidence of sanction order because the probative value
25    was outweighed by the risk that the jury would “give special weight to the judicial finding merely
      because they are judicial findings” and because “courts, recognizing the attendant danger of jury
26    confusion and unfair prejudice, frequently have approved the exclusion of judicial findings,
27    convictions, and similar evidence on Rule 403 grounds”); Mfg. Automation & Software Sys., Inc.
      v. Hughes, 2019 WL 266970, at *6 (C.D. Cal. Jan. 15, 2019) (excluding references and evidence
28    of discovery sanctions because it “would be improper to provide an additional remedy, in addition
      to the sanction”).
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           NSO’S MOTIONS IN LIMINE                                              Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH        Document 598-2         Filed 03/13/25    Page 29 of 29



 1           Moreover, any mention of the discovery sanctions would need to be supplemented with the
 2    explanation that Defendants were bound by Israeli legal restrictions that prevented them from
 3    producing certain computer code in the United States, which would only confuse the jury, unduly
 4    delay the trial, and waste time. (See Defs.’ MIL No. 7.) As a result, any probative value of
 5    mentioning discovery sanctions is far outweighed by the risk of confusing and distracting the jury
 6    and unfairly prejudicing Defendants.
 7    II.    CONCLUSION
 8           For the foregoing reasons, the Court should grant NSO’s Motions in Limine Nos. 1-10.
 9

10     Dated: March 13, 2025                           KING & SPALDING LLP
11                                                     By: /s/ Joseph N. Akrotirianakis
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14                                                     NSO GROUP TECHS. LTD. and
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        NSO’S MOTIONS IN LIMINE                                              Case No. 4:19-cv-07123-PJH
